                        Case 6:14-cr-10144-EFM Document 46 Filed 09/30/15 Page 1 of 7
AO 245B      (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
             Sheet 1



                                           United States District Court
                                                            District of Kansas
           UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                        v.
               Ryan Carl Lowmaster                                            Case Number:   6:14CR10144 - 001
                                                                              USM Number: 24595-031
                                                                              Defendant’s Attorney: John J. Gillett

THE DEFENDANT:

‫܈‬          pleaded guilty to count: 1 of the Information.
‫܆‬          pleaded nolo contendere to count(s)       which was accepted by the court.
‫܆‬          was found guilty on count(s)      after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

          Title & Section                                      Nature of Offense                            Offense Ended         Count

18 U.S.C. § 922(g)(1) and              FELON IN POSSESSION OF A FIREARM, a Class C                      11/13/2012                     1
18 U.S.C. § 924(a)(2)                  Felony




        The defendant is sentenced as provided in pages 1 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

‫܆‬          The defendant has been found not guilty on count(s)          .

‫܆‬          Count(s)                          is dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of material changes in economic
circumstances.

                                                                                                          09/28/2015
                                                                                                Date of Imposition of Judgment


                                                                               s/       Eric F. Melgren
                                                                                                      Signature of Judge


                                                                                      Honorable Eric F. Melgren, U.S. District Judge
                                                                                                 Name & Title of Judge

                                                                                                9/29/2015
                                                                                                            Date
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AO 245B     (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
            Sheet 2 – Imprisonment
                                                                                                                          Judgment – Page 2 of 7
DEFENDANT:   Ryan Carl Lowmaster
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                                                            IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
42 months.


‫܈‬         The Court makes the following recommendations to the Bureau of Prisons:
          Execution of sentence is stayed until after January 1, 2016.

‫܆‬         The defendant is remanded to the custody of the United States Marshal.


‫܆‬         The defendant shall surrender to the United States Marshal for this district.

          ‫ ܆‬at      on     .

          ‫ ܆‬as notified by the United States Marshal.


‫܈‬         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ‫ ܆‬before       on     .

          ‫ ܈‬as notified by the United States Marshal.

          ‫ ܆‬as notified by the Probation or Pretrial Services Officer.


                                                                    RETURN
I have executed this judgment as follows:




Defendant delivered on                                                   to

at                                                                       , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                                   By
                                                                                                        Deputy U.S. Marshal
                        Case 6:14-cr-10144-EFM Document 46 Filed 09/30/15 Page 3 of 7
AO 245B      (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
             Sheet 3 – Supervised Release
                                                                                                                                       Judgment – Page 3 of 7
DEFENDANT:   Ryan Carl Lowmaster
CASE NUMBER: 6:14CR10144 - 001

                                                       SUPERVISED RELEASE
           Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.


The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.ok

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

‫܆‬          The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future substance
           abuse. (Check if applicable)

‫܈‬          The defendant is prohibited from possessing or purchasing a firearm, ammunition, destructive device, or any other dangerous weapon.
           (Check if applicable)

‫܈‬          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check if applicable)

‫܆‬          The defendant shall register as a sex offender, and keep the registration current, in each jurisdiction where the defendant resides, where the
           defendant is an employee, and where the defendant is a student. For initial registration purposes only, the defendant shall also register in
           the jurisdiction in which convicted, if such jurisdiction is different from the jurisdiction of residence. Registration shall occur not later than
           3 business days after being sentenced, if the defendant is not sentenced to a term of imprisonment. The defendant shall, not later than 3
           business days after each change in name, residence, employment, or student status, appear in person in at least one jurisdiction in which the
           defendant is registered and inform that jurisdiction of all changes in the information required. (Check if applicable)

‫܆‬          The defendant shall participate in an approved program for domestic violence. (Check if applicable)

         If this judgment imposes a fine or restitution, it is to be a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on
the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or the probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependents and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other acceptable
      reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substances
      or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
      unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
      contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
      the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
      personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
      with such notification requirement.
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AO 245B    (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                                   Judgment – Page 4 of 7
DEFENDANT:   Ryan Carl Lowmaster
CASE NUMBER: 6:14CR10144 - 001

                                    SPECIAL CONDITIONS OF SUPERVISION
1.        The defendant shall successfully participate in and successfully complete an approved program for
          substance abuse, which may include urine, breath, or sweat patch testing, outpatient and/or residential
          treatment, and share in the costs, based on the ability to pay, as directed by the Probation Office. The
          defendant shall abstain from the use and possession of alcohol and other intoxicants during the term of
          supervision.

2.        The defendant shall not incur new credit charges or open, or attempt to open, additional lines of credit,
          without the prior approval of the probation officer. The defendant shall also execute any release of
          information forms necessary for the probation officer to monitor the defendant's compliance with the
          credit restrictions.

3.        The defendant shall immediately provide the probation officer with access to any and all requested
          financial information, to include executing any release of information forms necessary for the probation
          office to obtain and/or verify said financial information.

4.        The defendant shall submit his/her person, house, residence, vehicle(s), papers, business or place of
          employment and any property under the defendant's control to a search, conducted by the United States
          Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
          contraband or evidence of a violation of a condition of release. Failure to submit to a search may be
          grounds for revocation. The defendant shall warn any other residents that the premises may be subject to
          searches pursuant to this condition.

5.        The defendant is prohibited from possessing or purchasing a firearm, ammunition, destructive device, or
          any other dangerous weapon.
                       Case 6:14-cr-10144-EFM Document 46 Filed 09/30/15 Page 5 of 7
AO 245B     (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
            Sheet 5 – Criminal Monetary Penalties
                                                                                                                          Judgment – Page 5 of 7
DEFENDANT:   Ryan Carl Lowmaster
CASE NUMBER: 6:14CR10144 - 001

                                                 CRIMINAL MONETARY PENALTIES

          The defendant shall pay the total criminal monetary penalties under the Schedule of Payments set forth in this Judgment.

                                                  Assessment                            Fine                            Restitution

             Totals:                                 $100                              None                             $11,885.00


‫܆‬         The determination of restitution is deferred until          . An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such determination.

‫܈‬         The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
          otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
          nonfederal victims must be paid before the United States is paid.

                   Name of Payee                                    Total Loss*           Restitution Ordered          Priority or Percentage
                    Colt Energy                                           $1,035.00                 $1,035.00
                    Roger E. King                                         $4,100.00                 $4,100.00
                    Rodney D. Brimm                                       $6,350.00                 $6,350.00
                    Kansas Bureau of Investigation                         $400.00                    $400.00

                        Totals:
                                                                        $11,885.00                $11,885.00

‫܈‬         Restitution amount ordered pursuant to plea agreement $11,885.00

‫܆‬         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options set forth
          in this Judgment may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫܈‬         The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

          ‫ ܈‬the interest requirement is waived for the ‫ ܆‬fine and/or ‫ ܈‬restitution.

          ‫ ܆‬the interest requirement for the ‫ ܆‬fine and/or ‫ ܆‬restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245B     (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
            Sheet 6 – Schedule of Payments
                                                                                                                          Judgment – Page 6 of 7
DEFENDANT:   Ryan Carl Lowmaster
CASE NUMBER: 6:14CR10144 - 001

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A      ‫܆‬       Lump sum payment of $    due immediately, balance due
               ‫ ܆‬not later than  , or
               ‫ ܆‬in accordance with ‫ ܆‬C, ‫ ܆‬D, ‫ ܆‬E, or ‫ ܆‬F below; or

B      ‫܈‬       Payment to begin immediately (may be combined with ‫ ܆‬C, ‫ ܈‬D, or ‫ ܈‬F below); or

C      ‫܆‬       Payment in monthly installments of not less than 5% of the defendant's monthly gross household income over a period
               of   years to commence      days after the date of this judgment; or

D      ‫܈‬       Payment of not less than 10% of the funds deposited each month into the inmate's trust fund account and monthly
               installments of not less than 5% of the defendant's monthly gross household income over a period of 3 years, to
               commence 30 days after release from imprisonment to a term of supervision; or

E      ‫܆‬       Payment during the term of supervised release will commence within       (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
               time; or

F      ‫܈‬       Special instructions regarding the payment of criminal monetary penalties:

If restitution is ordered, the Clerk, U.S. District Court, may hold and accumulate restitution payments, without distribution, until the
amount accumulated is such that the minimum distribution to any restitution victim will not be less than $25.

Payments should be made to Clerk, U.S. District Court, U.S. Courthouse - Room 259, 500 State Avenue, Kansas City, Kansas 66101.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫܆‬         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount Joint and Several Amount and
corresponding payee, if appropriate.

          Case Number                                                                                                Joint and Several
 (Including Defendant Number)                                       Defendant Name                                       Amount


‫܆‬         The defendant shall pay the cost of prosecution.

‫܆‬         The defendant shall pay the following court cost(s):

‫܈‬         The defendant shall forfeit the defendant's interest in the following property to the United States.

          Ruger Model 77 .220 Swift, unknown serial number;
          Ruger Model 77 .22-250, SN 710-92865;
          Browning 10 gauge shotgun, SN 43750NN121;
          Kimber Model 82 .22 caliber, SN 510;
          Kimber Model 82 .22 caliber, SN 462, with scope;
          Winchester Model 70 .243 caliber rifle, SN G1229113;
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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AO 245B     (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
            Sheet 6 – Schedule of Payments
                                                                                                                          Judgment – Page 7 of 7
DEFENDANT:   Ryan Carl Lowmaster
CASE NUMBER: 6:14CR10144 - 001
          Winchester Model 70 30.06 caliber rifle, SN G1774205;
          Remington Model 721 30.06 caliber rifle, SN 413281;
          Remington Model 700 .222 caliber rifle, SN 107869;
          Winchester Model 62A .22 caliber rifle, SN 279137;
          Winchester Model 72 .22 caliber rifle, unknown serial number;
          Winchester Model 69A .22 caliber rifle, unknown serial number;
          Remington Model 12 .22 caliber, SN263654;
          Savage Model 6A .22 caliber rifle, no serial number available;
          JC Higgins Model 50 270 caliber rifle, unknown serial number;
          JC Higgins Model 50 30.06 caliber rifle, SN 12502;
          JC Higgins Model 51 30.06 caliber rifle, unknown serial number;
          JC Higgins Model 50 .270 caliber rifle, SN 37100;
          JC Higgins Model 50 30.06 caliber rifle, no serial number available;
          Mauser Model 98 8mm rifle, SN 2088
          Springfield 1903 30.06 caliber rifle, SN 1277104;
          Springfield Mauser Model 1903 30.06 caliber rifle, SN 465073419, with scope;
          Mauser .308 rifle, SN A5005;
          Mauser Model 1907 30.06 caliber rifle, SN A1643;
          Remington Rolling Block Rifle 43 Spanish caliber (initials of victim carved into stock);
          Winchester Model 62 22 caliber rifle, SN 65357A;
          Marlin Model 39A 22 caliber rifle, SN 23254200;
          Remington Model 722 222 caliber rifle, SN 426483, with scope;
          unknown make/model 410 gauge shotgun, SN 41195;
          Remington rifle, unknown model or caliber, SN 3289323;
          Springfield Arms 30.06 rifle, SN 1356208; and
          Remington Model 722 unknown caliber rifle, SN 22388, with scope;
          Beretta Model U22 NEOS-22 .22 caliber handgun, SN P54073;
          Smith & Wesson Model 15 .38 caliber handgun, SN 34K0304; and
          Ammunition.

          Payments against any money judgment ordered as part of a forfeiture order should be made payable to the United States of
          America, c/o United States Attorney, Attn: Asset Forfeiture Unit, 1200 Epic Center, 301 N. Main, Wichita, Kansas 67202.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
